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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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In re Application of DAVID A. GODFREY and                                  Case No. __________
YUKOS FINANCE B.V. for an order to conduct
discovery for use in a foreign proceeding from Robert                      EX PARTE APPLICATION
Foresman.

                                                      Petitioners.
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        Upon the annexed declaration of Martin A. Krolewski dated August 7, 2018 (“Krolewski

Declaration”), the annexed declaration of Bernard O’Sullivan dated August 7, 2018, and all

exhibits affixed thereto, and the accompanying memorandum of law, David A. Godfrey and

Yukos Finance B.V. (“Yukos Finance”) (together, the “Petitioners”) hereby apply to this Court

ex parte for an Order pursuant to 28 U.S.C. § 1782 (“Section 1782”) and Rules 30 and 45 of

the Federal Rules of Civil Procedure, (i) granting Petitioners leave to serve Robert Foresman

(“Respondent Foresman”) with the subpoena ad testificandum annexed to the Krolewski

Declaration as Exhibit A; (ii) requiring Respondent Foresman to appear for a deposition and

bring with him the requested documents within 30 days of receiving service of such subpoena

ad testificandum; and (iii) for such other relief as the Court deems proper and just.

        The requested relief is for purposes of obtaining limited, but critical, discovery in aid of

and for use in Yukos Finance B. V., David Godfrey, et al. v. Lynch, Foresman et al., CL-2015-

000829, an action pending before the High Court of Justice, Queen's Bench Division,

Commercial Court, in London, England (“Foreign Proceedings”). As set forth in the

accompanying memorandum of law, Petitioners seek testimony from the Respondent Foresman

and limited production of documents, who is a defendant in the Foreign Proceedings, concerning



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his personal knowledge of and related to the rigging of an auction of the share of Yukos Finance,

on August 15, 2007 that caused damages to the Petitioners and other claimants in the Foreign

Proceedings.

         Petitioners are parties to the Foreign Proceedings and thus “interested person[s]”

pursuant to Section 1782. The Respondent also works, resides and is found within this District.

Accordingly, the Petitioners meet all the statutory criteria for the issuance of an Order allowing

the requested discovery pursuant to Section 1782. Moreover, as set forth in the memorandum of

law filed concurrently herewith, all of the discretionary factors that this Court may consider

likewise favor granting the Petitioners’ application.


Dated:    New York, New York
          August 7, 2018

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